                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF MISSOURI
                                     WESTERN DIVISION

   SARIAH MOODY,                                  )
   GRACE READING,                                 )
   And                                            )
   EMILY CADY,                                    )     Case No. 20-CV-526
                                                  )
            Plaintiffs,                           )
                                                  )
   v.                                             )
                                                  )
   CITY OF KANSAS CITY, MISSOURI,                 )
                                                  )
            Defendant.                            )

    SUGGESTIONS IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY
                             INJUNCTION

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         I.       Introduction

         Plaintiffs seek a preliminary injunction to ensure that city ordinances are no longer

unconstitutionally enforced against individuals engaging and participating in constitutionally

protected protest activity.

         Following the murder of George Floyd in Minneapolis, Minnesota, protests took place

across the nation and throughout the world. These protests focused on bringing an end to police

brutality and racial injustice in America. Kansas City is not an exception to the protests or the

reasons they are taking place. Protests against police brutality and racial injustice in Kansas City

are planned to occur through at least October 2020.

         The City of Kansas City, Missouri police arrested over 200 non-violent protestors in May

and June of 2020 for violating Kansas City Code §§ 50-44 and 70-73 (collectively the “Failure-

to-Obey Ordinances”). The Failure-to-Obey Ordinances criminalize the impedance of traffic and

the failure to obey an order of a police officer. The Failure-to-Obey Ordinances are

unconstitutional facially and as applied because they give individual police officers unfettered

discretion to engage in arbitrary and discriminatory enforcement and are overbroad and vague

under the First Amendment and the Due Process Clause of the Fourteenth Amendment.

         II.      Statement of Facts

                  A.       Sariah Moody’s Unconstitutional Arrest

         On May 31, 2020, Sariah Moody was arrested while attending non-violent protests at the

Plaza in Kansas City. Ex. 1, Moody Declaration. Ms. Moody was sitting just off the curb

between a crowd of people in a closed street and the sidewalk. Id. ¶ 3. She was trying to keep her

distance from the main crowd to avoid contracting the virus that causes COVID-19, given the




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current global health crisis with the COVID-19 pandemic. Id. ¶ 4. There were approximately

2,000 protesters at the Plaza that day. 1

         For over two hours, Ms. Moody had been sitting, or kneeling, close to the curb on J.C.

Nichols Parkway near to the crosswalk at Emanuel Cleaver II Boulevard. Id ¶ 6. Ms. Moody was

blowing bubbles as part of her protest. Id. ¶ 7. J.C. Nichols Parkway was closed to vehicle

traffic. Id. ¶ 8. During the afternoon, police officers had moved some protesters off of 47th

Street, but said that Ms. Moody could remain in the street near the curb at J.C. Nichols Parkway.

Id. ¶ 9. However, at a little after 5:00 PM, suddenly, Ms. Moody’s daughter told her to “watch

out.” Id. ¶ 10.

         Ms. Moody looked up, but because the sun was in her eyes, she could see only shadowy

figures advancing toward her. Id. ¶ 11. Ms. Moody does not know whether the shadowy figures

were police officers or SWAT officers, but they were shouting “move, move!” Id. ¶ 12. Ms.

Moody heard no warning from the police nor was she told to move prior to being shouted at by

the figures suddenly moving toward her. Id. ¶ 13.

         Ms. Moody was still seated on the ground, when two officers picked her up, and she was

then surrounded by six other officers. Id. ¶ 14. The officers asked her if she was going to move,

and she said, “No.” Id. ¶ 15. Ms. Moody did not move because that entire area – including J.C.

Nichols Parkway and the location where she had been sitting – was shut down for the protest. Id.

¶ 16. The police had sectioned off that area for the protesters and she believed she was allowed

to be there. Id. ¶ 17.



1
 KMBC 9 News Staff, Kansas City police say ‘unlawful protests’ on Country Club Plaza
‘wrapped up’, KMBC News 9 ABC (June 1, 2020, 2:58 PM),
https://www.kmbc.com/article/kansas-city-missouri-country-club-plaza-protest-live-update-
kansas-city-police-westport/32723737 (“[Kansas City Police Department Capt. David Jackson
said he] estimates the crowd to be about 2,000 protesters”).

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         Police were arresting other protesters, and many – including Ms. Moody – asked the

reason for their arrests. Id. ¶ 18. The officers never responded. Id. ¶ 19. Ms. Moody had not

moved from her location the entire time she was protesting, but she was one of the first to be

arrested that afternoon. Id. ¶ 20. Ms. Moody’s hands were zip-tied so tightly that they became

numb. Id. ¶ 21. She did not recover full feeling back in her hands until the next day, and she

missed work due to the injury. Id. ¶ 22.

         After Ms. Moody's arrest, she was taken by the police to two different precincts and

placed in a cell at both. Id. ¶ 23. Despite Ms. Moody’s requests, the police officers refused to tell

her what she was being charged with. Id. ¶ 24. It was not until after Ms. Moody spoke with a bail

bondsman that she was told what the charges were. Id. ¶ 25. Ms. Moody was charged with a

violation of section 70-73 for failure to comply with the police order. Id. ¶ 26. Her bond was set

at $1,000. Id. ¶ 27. On her bond release document, an officer wrote that Ms. Moody was “not to

return to Plaza.” Id. ¶ 28. Ms. Moody believes strongly in the cause of the protests – raising

awareness about police brutality and racial injustice – and these were the first protests she had

ever attended. Id. ¶ 29. But, because of her arrest, charges, and treatment by police, she is now

afraid to exercise her right to protest, and she does not believe she will participate in future

protests unless she is accompanied by legal counsel. Id. ¶ 30.

                  B.       Grace Reading’s Unconstitutional Arrest

         On June 2, 2020, Grace Reading attended non-violent protests in Kansas City. Ex. 3,

Reading Declaration. Ms. Reading and friends arrived at the Plaza to distribute supplies,

including water bottles, first aid supplies, goggles, wipes, rubbing alcohol, gauze, and masks. Id.

¶ 3. When they arrived at the Plaza around 5:30 PM, the protesters were west of the J.C. Nichols

Fountain, lined up on J.C. Nichols Parkway, which was closed to traffic for the protest. Id. ¶ 4.



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           Ms. Reading estimates that as many as 50 or more police officers were standing on the

sidewalk west side of J.C. Nichols Parkway, in front of the Rye Plaza restaurant, immediately

north of P.F. Chang’s. Id. ¶ 5. When Ms. Reading arrived, the police officers were grouped

together while observing the protesters. Id. ¶ 6.

           The protesters were on the east side of J.C. Nichols Parkway and (with limited

exceptions) did not cross the double yellow lines in the middle of J.C. Nichols Parkway, which

the protesters treated as an informal divider between themselves and the nearby police officers.

Id. ¶ 7.

           After Ms. Reading dispersed supplies, she returned to the protesters around the block. Id.

¶ 8. When she returned from the fountain area from the march, the police had changed their

position. Id. ¶ 9. Instead of just observing, the approximately 50 officers were now lined up in

rows in front of Rye on J.C. Nichols Parkway and appeared ready to take immediate action

against the protesters. Id. ¶ 10. Throughout the day, the police would line up, push the protesters

back, and then retreat back to a group. Id. ¶ 11. Ms. Reading was standing with other protesters

at the yellow painted traffic line on the closed (to traffic) J.C. Nichols Parkway, a location the

police officers had previously allowed protesters to remain. Id. ¶ 12.

           Without warning, the police officers began to order the protesters to “step back” from the

yellow painted traffic line. Id. ¶ 13. An African-American protester standing next to Ms. Reading

encouraged Ms. Reading not to step back. Id. ¶ 14. Ms. Reading decided to stand with this and

other protesters, and refused to move out of the (closed) street. Id. ¶ 15. As the police

approached, Ms. Reading locked arms with her friend. Id. ¶ 16. The advancing police officers

arrested Ms. Reading and her friend. Id. ¶ 17.




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         Once arrested, she was taken to the curb at the Cheesecake Factory on the southwest

corner of 47th Street and J.C. Nichols Parkway. Id. ¶ 18. Ms. Reading asked what she was being

charged with, but the police officers would not tell her anything. Id. ¶ 19. She was not given

Miranda warnings, and the bandana she was wearing as a mask and her bag were seized and

searched. Id. ¶ 20. While she did not have her mask, the police required her to remain within six

feet of other officers, and she was unable to safely social distance herself from them which

caused her concern due to the COVID-19 pandemic and the known community spread of the

virus that causes COVID-19. Id. ¶ 21. After her arrest, Ms. Reading was driven around by the

police for approximately 30 minutes before she was taken to a parking lot and then to a precinct,

where she was booked. Id. ¶ 22. Ms. Reading's bags were taken out of sight and searched again

while at the parking lot. Id. ¶ 23. It felt more like a kidnapping to Ms. Reading than an arrest. Id.

¶ 24.

         At the precinct, Ms. Reading saw officers using excessive force on other arrested

protesters. Id. ¶ 25. One police officer tackled a African-American female protester, slammed her

into the concrete ground, and placed his knee on the same protester’s neck. Id. ¶ 26. Ms. Reading

saw a group of officers, but an officer named Skinner was definitely leading their actions. Id. ¶

27. Skinner had his knee on her neck, but he eventually moved it after the detainees yelled, "Get

your knee off her neck." Id. ¶ 28. Skinner moved his knee to between her shoulder blades and

then looked back and taunted the detainees while continuing to exercise excessive force. Id. ¶ 29.

Another officer placed his hand on the back of her head and shoved it into the concrete floor. Id.

¶ 30. Ms. Reading believes there were at least two other officers who were also holding her

down. Id. ¶ 31. A female officer stood over them and observed. Id. ¶ 32. The same protester was

later taken away by ambulance. Id. ¶ 33. Ms. Reading was released on a $500 bond after



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approximately five hours in custody. Id. ¶ 34. Ms. Reading was charged with a violation of

section 50-44(a). Id. ¶ 35.

         Ms. Reading has attended several non-violent protests in the past, including at least three

other non-violent protests in Kansas City where she was not arrested nor did she witness any

arrests. Id. ¶ 36. Those protests focused on issues such as abortion rights, humane treatment of

immigrants, and the #MeToo movement. Id. ¶ 37. However, the police presence and actions at

the protests in May and June against police brutality and racial injustice were markedly different

from the protests Ms. Reading has attended in the past. Id. ¶ 38. Because of her arrest and the

treatment she received by the police during the non-violent protests on June 2, 2020, Ms.

Reading feels anxious at the thought of attending another protest in Kansas City and has not

attended one since her arrest, despite being asked by friends to join them at subsequent protests.

Id. ¶ 39. She experiences a new wave of anxiety now when a police car passes her while she is

driving. Id. ¶ 40. Until she feels safe returning to in-person protests of police brutality and racial

injustice, Ms. Reading has shifted her focus to letter writing and email campaigns. Id. ¶ 41. The

treatment she received by the police on June 2, 2020, was dehumanizing and disorienting. Id. ¶

42. Watching the officer assault an African-American protester right in front of her and their

actions taunting her and others while they sat in a jail cell are experiences that will replay in her

mind for the rest of her life. Id. ¶ 43. Ms. Reading believes that protests will continue until

Kansas City begins to act in the interest of its residents, which may take months or even longer.

Id. ¶ 44.

                  C.       Emily Cady’s Unconstitutional Arrest

         On June 1, 2020, Plaintiff Emily Cady attended non-violent protests at the Plaza in

Kansas City. Ex. 2, Cady Declaration. Around 5:30 PM, Ms. Cady and a friend joined a group of

non-violent protesters who were marching along Main Street heading north toward downtown.

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Id. ¶ 3. The group was led by a minister who stopped at times to kneel and encouraged the group

to continue to protest non-violently. Id. ¶ 4. Police officers remained along the sides of the group

as they marched north on Main Street, and at many of the side streets, four to five officers

blockaded movement east or west. Id. ¶ 5.

         Eventually the group reached 31st and Main. Id. ¶ 6. Here, the police had blocked further

movement to the north. Id. ¶ 7. The group collectively decided to continue to move toward

downtown Kansas City. Id. ¶ 8. To avoid the blockade at 31st and Main, the group backed up to

the south on Main and then headed west on Linwood Boulevard toward Broadway. Id. ¶ 9. When

the group reached Broadway, they turned north again. Id. ¶ 10.

         At 31st and Broadway, Ms. Cady and the group observed another police blockade formed

by approximately 70 police officers and their vehicles stopping movement north. Id. ¶ 11. The

protesters stopped a full block before they reached the police barricade. Id. ¶ 12. Around 7:30

PM, Ms. Cady observed police officers putting on riot gear. Id. ¶ 13. Some of the protesters

returned to the Plaza, but many, including Ms. Cady, remained and knelt down. Id. ¶ 14.

         As protesters were kneeling, one officer commanded the police in riot gear to

“commence forward march,” and the officers began advancing toward the protesters in a line

while hitting their batons on their shields. Id. ¶ 15. A police officer on a megaphone told the

protesters that it was an unlawful gathering and ordered the protesters to return south. Id. ¶ 16.

The officer on the megaphone told the protesters that they could not have access to the highway

(presumably the continuation of Broadway to the ramp onto Interstate 35). Id. ¶ 17. Multiple

protesters responded that they did not intend to go to the highway but only wanted to move

forward (north on Broadway). Id. ¶ 18.




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         The police officers continued to advance toward the protesters, and the remaining

protesters, including Ms. Cady, moved toward the Plaza, now heading south along Pennsylvania

Avenue. Id. ¶ 19. The police set up another blockade at or around 39th Street and Pennsylvania,

blocking the remaining protesters from moving further south, which the police hay had just

ordered them to do. Id. ¶ 20. The group crossed 39th street, stepped onto the south sidewalk, and

headed east on 39th Street toward Washington Street. Id. ¶ 21.

         Before they reached Washington Street, Ms. Cady and the other protesters were on the

sidewalk when they were suddenly surrounded by shouting police officers. Police officers

ordered all the protesters to get on the ground. Id. ¶ 22. Ms. Cady initially said “no,” and one

officer screamed at Ms. Cady to “get on the fucking ground.” Id. ¶ 23. Some of the protesters

asked why they were under arrest but did not receive specific answers. Id. ¶ 24. Ms. Cady heard

the police officers say to each other “What’s the arrest?” and “What are we noting?” Id. ¶ 25.

Ms. Cady’s backpack was searched without her consent. Id. ¶ 26. She was then put in a vehicle

with four other protesters and taken to a parking lot where she and the others were booked into

custody. Id. ¶ 27.

         Ms. Cady was released on a $1,000 bail at approximately 5:00 AM on June 2, 2020. Id. ¶

28. She was charged with a violation of section 70-73 for failing to comply with the lawful order

of a police officer. Id. ¶ 29. When she was signing the bail paperwork, a police officer said to

Ms. Cady, “If you get arrested for the same offense, you won’t be eligible for bail.” Id. ¶ 30.

         Ms. Cady has attended other non-violent protests in the past, including the Women's

March, a non-violent protest in Kansas City where she was not arrested and did not witness any

arrests. Id. ¶ 31. However, because of her arrest and the treatment she received by the police

during the non-violent protests on June 1, 2020, Ms. Cady is afraid to return to protests in the



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future. Id. ¶ 32. She is afraid of being arrested, tear gassed, hit with a baton, or injured by police

while participating in non-violent protests. Id. ¶ 33. She is especially concerned about being

arrested and held without bail or being detained for a long period of time. Id. ¶ 34.

                  D.       Summary of the Charges

         Plaintiffs Moody and Cady were both charged with violating section 70-73, which states:

         No person shall willfully fail or refuse to comply with any lawful order or
         direction of any police officer, parking control officer, firefighter or uniformed
         adult school crossing guard with authority to direct, control or regulate traffic.

Plaintiff Reading was charged for violating section 50-44(a), which states:

         Any person who shall in any way or manner hinder, obstruct, molest, resist or
         otherwise interfere with any city public safety officer, employee or inspector,
         including, but not limited to, any firefighter or other fire suppression employee,
         fire prevention inspector, health inspector, building code inspector, zoning
         inspector, property maintenance or nuisances code inspector, illegal dumping
         inspector, regulated industries investigator or animal control officer, any
         employee or official of the metropolitan ambulance services trust or the
         ambulance contractor providing ambulance service for the metropolitan
         ambulance services trust, or any officer of the city police department or any
         member of any other law enforcement agency or police force, in the discharge of
         his/her official duties shall be guilty of an ordinance violation.

         The enforcement of the Failure-to-Obey Ordinances has frightened Plaintiffs and chilled

their participation in future protesting activity. They were unconstitutionally arrested with crimes

for participating in protected activities.

         III.     Argument

                  A.       Preliminary Injunction Standard

         When considering whether to issue a preliminary injunction, this Court must determine:

(a) whether the plaintiffs are likely to prevail on the merits, (b) if there exists a threat of

irreparable harm to the plaintiffs absent the injunction, (c) the balance between this harm and the

injury that the injunction’s issuance would inflict upon the defendant, and (d) what is in the



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public interest. See Dataphase Sys., Inc. v. C L Sys., Inc., 640 F.2d 109, 114 (8th Cir. 1981) (en

banc); accord Abdullah v. Cty. of St. Louis, 52 F. Supp. 3d 936, 943 (E.D. Mo. 2014).

                  B.       First Amendment Implications

         When the government regulates the exercise of First Amendment rights, the burden is on

the proponent of the restriction to establish its constitutionality. Phelps-Roper v. Koster, 713

F.3d 942, 949 (8th Cir. 2013). Moreover, where a challenged policy restricts First Amendment

activity, consideration of the likelihood of success on the merits is decisive to the question of

whether an injunction should issue. In a First Amendment case, the likelihood of success on the

merits is often the determining factor in whether a preliminary injunction should issue. See Jones

v. Jegley, 947 F.3d 1100, 1105 (8th Cir. 2020) (“likely to succeed on the merits [is] generally the

most important factor in First Amendment cases”) (citation omitted). “When a plaintiff has

shown a likely violation of his or her First Amendment rights, the other requirements for

obtaining a preliminary injunction are generally deemed to have been satisfied.” Minn. Citizens

Concerned for Life, Inc. v. Swanson, 692 F.3d 864, 870 (8th Cir. 2012) (en banc) (quoting

Phelps–Roper v. Troutman, 662 F.3d 485, 488 (8th Cir. 2011) (per curiam) (quotation marks

omitted)).

         In addition to Plaintiffs’ First Amendment claims, their due process claims should be

considered under this framework because, in the context of this case they touch upon First

Amendment rights.

                  C.       Plaintiffs are likely to succeed on the merits because the Failure-to-
                           Obey Ordinances violate their Rights under the First and Fourteenth
                           Amendments.

         “A fundamental principle in our legal system is that laws which regulate persons or

entities must give fair notice of conduct that is forbidden or required.” FCC v. Fox Television

Stations, Inc., 132 S. Ct. 2307, 2317 (2012). A policy, custom, or law is unconstitutionally vague

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where it “does not provide people with fair notice of when their actions are likely to become

unlawful,” Stahl v. City of St. Louis, 687 F.3d 1038, 1041 (8th Cir. 2012), and when it

“necessarily entrusts lawmaking to the moment-to-moment judgment of the policeman on his

beat.” Kolender v. Lawson, 461 U.S. 352, 360 (1983) (brackets and quotation marks omitted);

see also City of Chicago v. Morales, 527 U.S. 41, 56 (1999) (plurality opinion).

                  1.       The Failure-to-Obey Ordinances are Void for Vagueness

         The Failure-to-Obey Ordinances are void for vagueness under the Fourteenth

Amendment and violate due process because they invite discriminatory and arbitrary

enforcement by law enforcement officers. “It is a basic principle of due process that an

enactment is void for vagueness if its prohibitions are not clearly defined .” Grayned v. City of

Rockford, 408 U.S. 104, 108 (1972). “In those instances when an imprecise law implicates

speech and assembly rights, an injured plaintiff may also facially challenge a statute as void for

vagueness.” Bell v. Keating, 697 F.3d 445, 455 (7th Cir. 2012). If the statute allows law

enforcement to arrest and prosecute on an “ad hoc and subjective basis,” then it encourages

arbitrary and discriminatory enforcement. Grayned, 408 U.S. at 109. “An ordinance that grants

police … ‘discretion ... to determine’ whether a violation has occurred ‘entrusts lawmaking to

the moment-to-moment judgment of the policeman ... furnishes a convenient tool for harsh and

discriminatory enforcement, ... and confers on police a virtually unrestrained power to arrest and

charge persons with a violation.” Langford v. St. Louis, No. 4:18CV2037 HEA, 2020 WL

1227347, at *21 (E.D. Mo. Mar. 5, 2020).

         In Langford v. St. Louis, a protester was arrested after failing to obey a police officer’s

order to step onto the sidewalk pursuant to an ordinance that allowed law enforcement officers to




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arrest individuals impeding traffic, though there was no traffic at the time of her arrest. Id. at *2.2

The ordinance read, “No person, or persons congregating with another or others, shall stand or

otherwise position himself or herself in any public place in such a manner as to obstruct, impede,

interfere, hinder or delay the reasonable movement of vehicular or pedestrian traffic.” Id. at *4

(emphasis added). It was challenged on the fact that there was no traffic when the plaintiff was

arrested, it allows discretion to police officers to arrest individuals in almost any circumstance,

and there was no exclusion for expressions of protected speech, such as protests. Id. The court

held that this ordinance invited an undue risk of arbitrary and discriminatory enforcement, was

therefore void for vagueness, and was unconstitutional as applied to the plaintiff because there

was no traffic at the time of arrest. Id. at *21.

         Here, plaintiff Moody attended a protest in Kansas City advocating against police

brutality, racial injustice, and corrupt actions by police departments all over the country and was

arrested pursuant to section 70-73, which states “No person shall willfully fail or refuse to

comply with any lawful order or direction of any police officer, parking control officer,

firefighter or uniformed adult school crossing guard with authority to direct, control or regulate

traffic.” At the time of her arrest, Ms. Moody was on J.C. Nichols Parkway, which was closed

for the protest. There were no vehicles allowed in or around her location. Ms. Cady had been

protesting in the streets, but she was arrested on the 39th Street sidewalk after she refused an

order to "get on the f#*king ground.” As in Langford, Ms. Moody and Ms. Cady were arrested

for a traffic infraction when there was, in fact, no traffic. Section 70-73 is extraordinarily vague.

It does not even require the officer’s order to relate to traffic – which the order to Ms. Cady

walking on a sidewalk clearly did not – as long as the officer is empowered to "control or


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  She was also arrested, pursuant to another section of the ordinance, for failing to obey the
police officer’s command. Id.

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regulate traffic." Section 70-73 is even more vague than the one at issue in Langford. Here,

officers can arrest individuals anytime they feel their direction has not been heeded.

         Similarly, section 50-44(a) is unconstitutionally vague in that it allows officers to enforce

the ordinance whenever they feel that a person exercising their First Amendment rights at a non-

violent protest “hinder[s], obstruct[s], molest[s], resist[s] or otherwise interfere[s]” with an

officer. Like Ms. Moody, Ms. Reading was participating in a non-violent protest on J.C. Nichols

Parkway, which was closed to traffic at the time she was arrested, because she refused the

officer's order to “step back.” Ms. Reading had participated in other non-violent protests in

Kansas City – concerning abortion rights, humane treatment of immigrants, and the #MeToo

movement without incident – yet she was arrested and handled in a way that seemed to her like a

kidnapping when she protested police brutality and racial injustice. These ordinances are

invoked, or not, at the unfettered discretion of the police.

         The Failure-to-Obey Ordinances thus fail because they allow for virtually unlimited

police discretion when it comes to enforcement. See Grayned, 408 U.S. at 109. Ordinances such

as this could criminalize almost any form of protest activity and pose significant issues when

applied to people exercising their First Amendment rights. Kansas City’s interest in regulating

traffic, road safety, and protecting officers is not sufficient to enable police to arrest anyone who

does not comply with their direction, even when there is no traffic or road safety issues present.

Thus, these ordinances invite arbitrary and discriminatory enforcement, particularly against

protesters speaking out against police brutality, and therefore are void for vagueness under the

Fourteenth Amendment and violate due process.

                  2.       Section 70-73 is an Unconstitutional Restriction of the First
                           Amendment




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         The arrests under section 70-73 are unconstitutional as applied to the protesters. The First

Amendment protects protests, marches, parades, and pickets as methods of expression of free

speech. Shuttlesworth v. City of Birmingham, 394 U.S. 147, 152 (1969). When the government

tries to limit this expression, the government’s “rights … to limit expressive activity are sharply

circumscribed.” Perry Educ. Ass’n v. Perry Local Educators’ Ass’n, 460 U.S. 37, 45 (1983). An

as-applied challenge consists of a challenge to the statute’s application only to the party before

the court. Republican Party of Minn., Third Cong. Dist. v. Klobuchar, 381 F.3d 785, 790 (8th

Cir. 2004). The plaintiff must prove “that the [Ordinance] is unconstitutional ‘because of the way

it was applied to the particular facts of [the] case.’” Phelps-Roper v. Ricketts, 867 F.3d 883, 896

(8th Cir. 2017).

         In Langford, the court held that the statute at issue was unconstitutional as applied to the

plaintiff because the statute was intended to promote traffic safety, and yet was utilized against

the defendant when there was no traffic. Langford, 2020 WL 1227347, at *21. The defendant

argued that they were trying to reopen the streets, and that is why the plaintiff was

impeding traffic. Id. The court held that the plaintiff’s arrest was obviously intended to chill her

speech, as she was arrested when engaging in protest – a form of protected First Amendment

speech. Id.

         Here, protesters were arrested for engaging in protect First Amendment speech either on

closed streets or on a sidewalk after moving from streets that were either closed or where there

was no traffic present. They cannot have been lawfully arrested for a traffic violation when there

was no traffic, or even any prospect of traffic, as in Langford. The arrests were intended to chill

or circumscribe Plaintiffs’ First Amendment-protected speech. This renders the ordinance and

the protesters’ subsequent arrests unconstitutional as applied to the protesters.



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                  3.       Section 50-44(a) is Unconstitutionally Overbroad

         Section 50-44(a) is unconstitutionally overbroad under the First Amendment. A statute

that is substantially overly broad may be invalidated on its face. New York v. Ferber, 458 U.S.

747, 769 (1982). Overbreadth “invalidate[s] a statute when it ‘infringe[s] on expression to a

degree greater than justified by the legitimate governmental need’ which is the valid purpose of

the statute.” United States v. Morison, 844 F.2d 1057, 1070 (4th Cir. 1988). A statute can be

unconstitutionally overbroad even if there are potentially legitimate applications of that

statute. City of Houston v. Hill, 482 U.S. 451, 459 (1987). Criminal statutes require even closer

scrutiny. Id.

         For example, in City of Houston v. Hill, the Court ruled a municipal ordinance that made

it a crime “for any person to assault, strike or in any manner oppose, molest, abuse or interrupt

any policeman in the execution of his duty, or any person summoned to aid in making an arrest”

was unconstitutionally overbroad. Id. at 455. The Court pointed out that this ordinance left an

extreme amount of discretion for the police. Id. at 462. Almost any communication with a police

officer that annoyed or offended them could be a violation of this ordinance. Id. The claimed

government interest – protecting the safety of police officers – was already addressed by state

statutes criminalizing the assault of a law enforcement officer. Id. at 460-61. Thus, the statute

was unconstitutionally overbroad and did encroached on First Amendment rights without a

justified government interest. Id. at 462.

         Here, section 50-44(a) makes it an offense to "in any way or manner hinder, obstruct,

molest, resist or otherwise interfere with" a police officer in the discharge of her or his official

duties. No intent to hinder or otherwise interfere is required. Protesters in Kansas City,

including Plaintiff Reading, were arrested and charged with violating 50-44(a), and no other

ordinance, while engaging in non-violent protected speech. Section 50-44(a) reaches and

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infringes upon protected expression under the First Amendment, as seen here. It reaches a

substantial amount of this protected interest, as protesters were arrested while engaging in non-

violent, protected speech. This Ordinance is nearly identical to the municipal ordinance ruled

in Hill as unconstitutional.3

         Almost any constitutionally protected communication with any one of the officers

identified in the ordinance could lead to a citation and arrest. One does not even need to intend to

interfere. Asking a state trooper why one was pulled over, not answering a police officer asking

a question, or, as seen here, engaging in non-violent protest activity against police brutality could

all lead to a citation under this ordinance. Additionally, section 50-44(a) is a criminal ordinance

without a knowledge or intent requirement. Because it chills speech, the ordinance must have a

knowledge requirement. See Video Software Dealers Ass’n v. Webster, 968 F.2d 684, 690 (8th

Cir. 1992) (“[W]e believe any statute that chills the exercise of First Amendment rights must

contain a knowledge element”).

         Presumably, as in Hill, the cited government interest in this ordinance is assuring the

safety of law enforcement and other officials. But that interest is already addressed in Missouri

statute § 565.082, criminalizing assault against all public safety officials. Mo. Ann. Stat.

§ 565.082 (2013). There is simply no justifiable government interest in section 50-44(a).

Enabling the police wide discretion to chill the speech of protesters is not a legitimate

government interest. The substantial encroachment on First Amendment rights is unquestionably

not satisfied by any sizable government interest. Thus, section 50-44(a) is unconstitutionally

overbroad on its face.



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 However, Section 50-44(a) is even broader, allowing for anyone who may say or do something
to annoy a police officer to be in violation, but also anyone who may say or do something to
annoy any “public safety” officer, employee, or inspector, to be in violation of this ordinance.

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         For these reasons, Plaintiffs are likely to prevail on the merits.

                  D.       Remaining Dataphase Factors Favor a Preliminary Injunction

         When a plaintiff has shown a likely violation of constitutional rights, the other

requirements for a preliminary injunction are generally deemed to have been satisfied. Swanson,

692 F.3d at 870; accord Phelps-Roper v. Cty. of St. Charles, 780 F. Supp. 2d 898, 900-01 (E.D.

Mo. 2011). There is no basis for departing from the general rule here.

         A restriction of constitutional rights constitutes irreparable harm. It is clear that the “loss

of First Amendment freedoms, for even minimal periods of time, unquestionably constitutes

irreparable injury.” Elrod v. Burns, 427 U.S. 347, 373 (1976) (plurality); accord Marcus v. Iowa

Pub. Television, 97 F.3d 1137, 1140-41 (8th Cir. 1996). The alleged deprivation of liberty

without due process constitutes irreparable harm. See Lane v. Lombardi, No. 2:12-CV- 4219-

NKL, 2012 WL 5873577, at *6 (W.D. Mo. Nov. 15, 2012). Here, protests are ongoing and will

be for the foreseeable future (Ex. 2 ¶ 44) so the need to participate in protected non-violent

protest activity without being subject to arbitrary mistreatment is urgent and irreparable harm

will occur if a preliminary injunction is not issued.

         The balance of equities generally favors the constitutionally protected rights. see Lane,

2012 WL 5873577, at *6. “[I]t is always in the public interest to protect constitutional rights.”

Fuller v. Norman, 936 F. Supp. 2d 1096, 1098 (W.D. Mo. 2013) (citation omitted); see also Doe

v. S. Iron R-1 Sch. Dist., 453 F. Supp. 2d 1093, 1103 (E.D. Mo. 2006), aff’d, 498 F.3d 878 (8th

Cir. 2007). The public interest is served by protection of the right to gather on public streets and

sidewalks—traditional public forums—without arbitrary interference by law enforcement.

         IV.      Conclusion




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         For these reasons and those that will be presented at the hearing, Plaintiffs request this

Court issue a preliminary injunction enjoining the enforcement of the Failure-to-Obey

Ordinances and declaring them unconstitutional.




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                                 Respectfully submitted,

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                                CERTIFICATE OF SERVICE

        I hereby certify that on June 30, 2020, I electronically filed the foregoing with the Clerk
of the Court using the CM/ECF system, which sent notification of such filing to all counsel of
record. A copy of the foregoing was also hand-delivered to the office of the City Attorney for the
City of Kansas City, Missouri.


                                                  /s/ John C. Aisenbrey
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